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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

  Civil Action No. 13-CV-1300-MSK-MJW

  JOHN B. COOKE, Sheriff of Weld County, Colorado, et al.

        Plaintiffs,

  vs.

  JOHN W. HICKENLOOPER, Governor of the State of Colorado,

        Defendant.


    RESPONSE OF PROWERS COUNTY SHERIFF JIM FAULL TO
             DEFENDANT’S INTERROGATORIES

         Sheriff Faull, by and through his undersigned counsel, and pursuant to Fed. R.
  Civ. P. 33(b), hereby responds to Defendant’s Interrogatories as follows:

                               GENERAL OBJECTIONS

         Where no objection is interposed, the responses below reflect all responsive
 information and documents identified by Sheriff Faull before the date of the
 responses, pursuant to a reasonable and diligent search and investigation conducted
 in connection with this discovery. To the extent the discovery purports to require
 more, Sheriff objects on the grounds that (a) the discovery seeks to compel him to
 conduct a search beyond the scope of permissible discovery contemplated by the
 Federal Rules of Civil Procedure, and (b) compliance with the discovery would be
 oppressive, and would impose an undue burden or expense.

        Sheriff Faull’s discovery responses are also made subject to the ongoing
  discovery and trial preparation in this case. These discovery responses are made
  based on the best information, including facts available as of the date of such
  responses. Sheriff Faull reserves the right to amend, supplement, or change these
  discovery responses as permitted or required under the Federal Rules of Civil
  Procedure based on additional information obtained through the discovery and trial
  preparation process.

        Sheriff Faull makes each individual response subject to and without waiving
  the conditions and objections that are stated in the sections of these responses

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  entitled “General Objections” and “Objections to Instructions and Definitions” and
  that are specifically referred to in that particular individual response.

         Sheriff Faull makes each individual response without adopting in any way
  (unless otherwise stated) the terms and phrases that Defendant purports to define
  in his discovery. When Sheriff Faull uses words or phrases that Defendant has
  purported to define, those words and phrases should be given either (a) the meaning
  set out by Sheriff Faull in his responses, or in its objections to the specific
  definitions, or (b) the ordinary meaning of such words or phrases.


             OBJECTIONS TO INSTRUCTIONS AND DEFINITIONS

         Defendant has purported to define several terms used in his discovery. In his
  responses, Sheriff Faull gives ordinary words and phrases their ordinary meaning.
  By making this written response, Sheriff Faull does not (a) adopt any purported
  definition, (b) waive or limit its objections to Defendant’s purported definitions, or
  (c) concede the applicability of any such definition to any term or phrase that might
  be contained in written responses. Wherever these words are used in Defendant’s
  interrogatories, these objections and these clarifications are incorporated, unless
  otherwise specified in the request.

         Defendant purported to define “you” and “your” to include “counsel for
  Plaintiffs.” Sheriff Faull objects to this definition to the extent that it purports to
  require the disclosure of information, communications, or documents protected from
  disclosure by the attorney-client privilege, work product immunity, or any other
  privilege or immunity.

  RESPONSES

  1. With respect to each and every home invasion or “robbery in the home” to which
  your department has responded since January 1, 2004, please:

     a. describe the circumstances surrounding the home invasion/robbery in the
        home, including: the date and location (by city and county), the number of
        perpetrators involved, whether or not the perpetrator(s) carried firearms, and
        whether or not the perpetrator(s), victim(s), or others fired any shots;

  Response: On June 7, 2007 at 5365 CR HH.7 (approximately one and one half
  mile northwest of Lamar, Prowers County) three unarmed perpetrators entered the
  home of an individual uninvited. A confrontation began over money owed to one of
  the perpetrators. A fight then took place over a shotgun and the individual shot one
  of the perpetrators.



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          b. if a firearm was fired or otherwise used or displayed by any person,
          identify who used, displayed, or discharged the firearm, the manner in which
          they did so, whether the firearm used a magazine, the capacity of any
          magazines from which bullets were fired, the number of rounds fired by each
          individual, and whether any person was shot;

  Response: Sheriff Faull objects to this interrogatory on the ground that the phrase
  “otherwise used or displayed” is vague and ambiguous. Subject to and without
  waiving this objection: The victim perpetrator, Raul Munoz, and the home owner
  fought over a shotgun owned by the home owner. The home owner was able to pull
  the shotgun away from Munoz and then shot him twice. Munoz was shot once in the
  chest and once in the face resulting in his death.


  c. if any person was shot, identify the individuals who inflicted and suffered any
  gunshot injuries and state whether any individual was killed.

  Response: The home owner fired a shotgun and killed Munoz.


  2. With respect to each and every occasion when you, your predecessor(s) in office,
  or a sheriff’s deputy has discharged a firearm in the course of duty since January 1,
  2004 (not including firearm practice or training), please:

  a. describe the circumstances surrounding the firearm discharge, including the
  date, location (by city and county), the reason for the firearm discharge, and
  whether you, your predecessor(s), or deputy were fired upon;

  Response: Sheriff Faull objects to this interrogatory on the ground that it is
  overbroad and not reasonably calculated to lead to the discovery of admissible
  evidence. Subject to and without waiving this objection:

  None.

  b. if a firearm was fired by any person involved in the event, identify who fired the
  firearm, whether the firearm used a magazine, the capacity of any magazines from
  which bullets were fired, the number of rounds fired by each individual, and
  whether any person was shot;

  Response: Sheriff Faull objects to this interrogatory on the ground that the word
  “event” is vague. Subject to and without waiving this objection:

  None.
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  c. if any person was shot, identify the individuals who inflicted and suffered any
  gunshot injuries and state whether any individual was killed.

  Response: None.

  3. With respect to the allegations of paragraph 102 of the First Amended Complaint
  (doc. #22), describe every instance since January 1, 1973 in which you or your
  predecessors in office requested the armed assistance of able-bodied adults (“posse
  comitatus”). In your response, state in detail the circumstances surrounding each
  such request, including:

  a. the reason for the request, the number of individuals who responded to the
  request, whether such individuals were law enforcement officers or were deputized
  for the purposes of participating, and whether these individuals were required by
  you or your predecessors to carry firearms in connection with their participation;

  Response: One of my predecessors on July 1, 1980 called for assistance from the
  Lamar Police Department and the Colorado State Patrol to help apprehend a
  suspect that had shot at a Colorado State Patrol Trooper and the Baca County
  Undersheriff 12.5 miles north of Springfield on Highway 287. From what I can tell
  from the report, two police officers, two state troopers and two deputies responded
  to the call. All law enforcement officers were armed at the time.

  b. whether any individual who responded to the request to assist law enforcement
  or any individual(s) they encountered while assisting law enforcement discharged a
  firearm. If shots were fired, state the circumstances surrounding the discharge of
  the firearm(s), including: who discharged a firearm, whether the firearm(s) used a
  magazine, the capacity of any magazines from which bullets were fired, the number
  of rounds fired, and whether any person was shot;

  Response: Regarding the 1980 incident: The Prowers County Undersheriff and the
  perpetrator both discharged their firearms. Both weapons fired were six shot
  revolvers. The perpetrator was being pursued by law enforcement when he started
  to fire his weapon. The perpetrator fired his weapon three times and the
  Undersheriff fired his weapon five times. The perpetrator was shot twice.

  c. if any person was shot, identify the individuals who inflicted and suffered any
  gunshot injuries and state whether any individual was killed.

  Response: The Undersheriff shot the perpetrator, Earl Armstrong, twice which
  resulted in his death.




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  4. With respect to the allegations of paragraph 103 of the First Amended Complaint
  (doc. #22), describe every instance since January 1, 2004 when you or your
  predecessors appointed deputies who were not certified peace officers. In your
  response, state in detail:

  a. the date and duration of each individual’s appointment, the circumstances
  surrounding the need for the “non-certified” deputy, whether the non-certified
  deputy was required to carry a firearm, whether the “non-certified” deputy carried a
  firearm he/she supplied or a firearm supplied by the sheriff’s office, and whether
  any non-certified deputy ever discharged a firearm;

  Response: Prowers County currently has 15 non-certified deputies who work at
  the county jail. These deputies are expected to carry county provided firearms
  during transports and court security.

  My posse has four certified “reserve” member and eleven non-certified members. All
  are non paid private citizens who volunteer their time. Posse members may be
  issued a Glock .40 handgun.

  No civilians have been appointed deputies except posse members prior to training.

  b. the circumstances surrounding the discharge of the non-certified deputy’s
  firearm, including: the date and location of the event, whether the non-certified
  deputy was fired upon, the number of rounds fired by the non-certified deputy, the
  number of rounds fired by others involved in the event, the capacities of magazines
  from which bullets were fired, and whether any individual was shot;

  Response: There have been no firearm discharges from non-certified deputies.

  No posse member has discharged a firearm.

  c. if any person was shot, identify the individuals who inflicted and suffered any
  gunshot injuries and state whether any individual was killed.

  Response: None.

  5. Describe every occasion since January 1, 2004 when you, your predecessor
  sheriff(s), a sheriff’s deputy, or a family member living with these individuals has
  discharged or otherwise used or displayed a firearm in defense of self, home, or
  other family members. In your response, describe the circumstances surrounding
  each event, including: the events leading to the use, display, or discharge of the
  firearm, the number of rounds fired by you or others, and the capacity of magazines
  used by firearms that were discharged. If any person was shot, identify the



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  individuals who inflicted and suffered any gunshot injuries and state whether any
  individual was killed.

  Response: Sheriff Faull objects to this interrogatory on the ground that the phrase
  “otherwise used or displayed” is vague and ambiguous. Subject to and without
  waiving this objection,

  None.

  6. With respect to the allegations of paragraph 105 of the First Amended Complaint
  (doc. #22), describe every instance since January 1, 2004 in which you or your
  predecessors in office requested armed citizen assistance for emergencies and
  natural disasters. In your response, state in detail the circumstances surrounding
  each such request, including:

  a. the reason for the request, the number of individuals who responded to the
  request, and whether such individuals were law enforcement officers or were
  deputized for the purposes of participating, and whether these individuals were
  required by you or your predecessors to carry firearms;

  Response: No request has been made for assistance from armed citizens for
  emergencies or natural disasters.

  b. whether any individual who responded to the request to assist law enforcement
  or any individual(s) they encountered while assisting law enforcement discharged a
  firearm. If shots were fired, state the circumstances surrounding the discharge of
  the firearm(s), including: who discharged a firearm, whether the firearm(s) used a
  magazine, the capacity of any magazines from which bullets were fired, the number
  of rounds fired, and whether any person was shot;

  Response: Not applicable.

  c. if any person was shot, identify the individuals who inflicted and suffered any
  gunshot injuries and state whether any individual was killed.

  Response: Not applicable.



  AS TO OBJECTIONS:




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                                         ATTORNEY FOR SHERIFFS AND DAVID
                                         STRUMILLO

  AS TO RESPONSES:
         Pursuant to 28 U.S.C. § 1746, I, Jim Faull, do hereby verify under penalty of
  perjury that the foregoing responses to Defendant’s Interrogatories are true and
  correct to the best of my information and belief.

        Dated this 12th day of August, 2013.

                                         ______              _____________
                                         s/Sheriff Jim Faull




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